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                                   IN THE UNITED STATES DISTRICT COURT
                                    FOR THE WESTERN DISTRICT OF TEXAS
                                              AUSTIN DIVISION
                                                                                                          2022




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                 LEILA GREEN LITTLE, JEANNE                   §   Case No. 2:22-C V-424-RP
                 PURYEAR, KATHY KENNEDY,                      §
                 REBECCA JONES, RICHARD DAY,                  §
                 CYNTHIA WARING, AND DIANE                    §
                 MOSTER,                                      §
                                                              §
                   Plaintiffs,                                §
                                                              §
                           V.                                 §
                                                              §
                 LLANO COUNTY, RON CUNNINGHAM,                §
                 in his official capacity as Llano County     §
                 Judge, JERRY DON MOSS, in his official       §
                 capacity as Llano County Commissioner,       §
                 PETER JONES, in his official capacity as     §
                 Llano County Commissioner, MIKE              §
                 SANDOVAL, in his official capacity as        §
                 Llano County Commissioner, LINDA             §
                 RASCHKE, in her official capacity as Llano   §
                 County Commissioner, AMBER MILUM,            §
                 in her official capacity as Llano County     §
                 Library System Director, BONNIE              §
                 WALLACE, in her official capacity as         §
                 Llano County Library Board Member,           §
                 ROCHELLE WELLS, in her official              §
                 capacity as Llano County Library Board       §
                 Member, RHONDA SCHNEIDER, in her             §
                 official capacity as Llano County Library    §
                 Board Member, and GAY BASKIN, in her         §
                 official capacity as Llano County Library    §
                 Board Member,                                §
                                                              §
                   Defendants.                                §



                                       PLAINTIFFS' NOTICE OF LODGING

                    TO THE COURT AND DEFENDANTS: PLEASE TAKE NOTICE THAT Plaintiffs
           hereby lodge with the Court the attached USB drive, which contains native format versions of
        Case 1:22-cv-00424-RP Document 26 Filed 05/13/22 Page 2 of 3




Exhibit 6 and Exhibit 9 to the Declaration of Amy Senia, submitted in support of Plaintiffs'

Motion for Preliminary Injunction:

       1.   A true and correct copy of an excel spreadsheet entitled "Deleted Holdings 1-1-2021

            tru [sic] 3-31-2022." An excerpted and formatted PDF of this spreadsheet was

            attached to Plaintiffs' Motion for Preliminary Injunction (see Docket No. 22-10,

            Declaration of Amy Senia ("Senia Decl."), Ex. 6 at 59-65).

       2.   A true and correct copy of an excel spreadsheet entitled "Bonnie Wallace book list

            2021.11.12." A PDF of this spreadsheet was attached to Plaintiffs' Motion for
            Preliminary Injunction (see Docket No. 22-10, Sema Decl., Ex. 9 at 75).



Date: May 11, 2022                           Respectfully submitted,

                                             BRAIThHAGEY & BORDEN LLP


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                                             Attorneys for Plaint'ffs
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                                CERTIFICATION OF SERVICE

       I, Shannon Morrissey, certify that:

       I am over the age   of 18 years and not a party to this action. My business address is
Braunllagey & Borden LLP, 118 West        22nd Street, 12th Floor,   New York, NY 10011.

       This 11th day of May, 2022, a copy of the foregoing document and accompanying USB

drive has been placed in the United States Mail, postage prepaid, to:

       U.S. Federal Courthouse
       Attn: Clerk's Office, Suite 1100
       501 West 5th Street
       Austin, TX 78701




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